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~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations#1509
             Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                             Southern District of Illinois
                                                                                     #./J/eA/de d
        UNITED STATES OF AMERICA                                                   JUDgment In a Criminal Case
                             v.                                                    (For Revocation of Probation or Supervised Release)
                     Larry W. York

                                                                                   Case No. 02CR40078-28
                                                                                   USM No. 18708-076
                                                                                    Judith Kuenneke, AFPD          ('/
THE DEFENDANT:
                                                                                                      Defendant's A ~ . IJ
                                                                                                                       "i'!V ·s
                                                                                                                                                                                    '11.
                                                                                                                                                                                   ctJ,,'1
                                                                                                                                                    S~ DISDIS~
~ admitted guilt to violation of condition(s)              ::a::.s.::a:::lI::e.l!g::e::d.::b~e:::lo::.w~_ _ _ _ of the term of supervision.                !Vro;;"i'lc~/Cr C
D   was found in violation of condition(s)                 _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.                                                                        °""/°"   °U!?r
                                                                                                                                                                                  c~ I('(ltv
                                                                                                                                                                                    '        OIS
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                  Violation Ended
Statutory                         The defendant illegally possessed crack cocaine                                                 10/19/2010
Standard #2                       th~deferidknj,;i~ilEid,'t6 file report~i:tl~~jy!("
                                   ':!:     ."   . ,.. '    """:,"      "'"i"'"''':'''
                                                                               .              i::::"
                                                                                                                                  oat30}2o,ti.':",
                                                                                                                                  : " ,.. ;:i. ~ i :' " • !! , .'   , . ", :


Standard # 6                      The defendant failed to notify probation of change of address                                   12/16/2009
Standard #7                  , The9~i~ri?a~l~r~rik al~,~9Il.;:!~~gess '                                                         :"hW+~/*~~~ii:i,
       The defendant is sentenced as provided in pages 2 through _-,5!-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of narne, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2039                                05/13/2011
                                                                                                            ~ate 0zr;;~dgment

                                                                                                ~
Defendant's Year of Birth:           1968

City and State of Defendant's Residence:                                                                            Signature of Judge
Mt. Vernon, IL
                                                                                    J. Phil Gilbert                                                   District Judge




                                                                                        ~
                                                                                                       _ ~_ Name and Title ofJudge

                                                                                        ~~                          fr 7d//  Date' ,
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                                                                                            Judgment-Page   _-,2___ of         5
DEFENDANT: Larry W. York
CASE NUMBER: 02CR40078-28

                                                     ADDITIONAL VIOLATIONS

                                                                                                                        Violation
Violation Number              Nature of Violation                                                                       Concluded
Standard # 11                 The defendant failed to notify probation of being questioned by police                    10/25/2010

SpeciaJ                       The:~·~fe.tid~i#j·.~nsu~~~~li6;ii~i.:~I#~,~~~~'i'lr~~1fe~!~~ntl~IVs~~~~~~:i~~~e' ···~i.1)~912011
                              treatment.
                                                                                                                ''1'i
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  AO 245D                                                            #1511
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2-lmprisonment

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  DEFENDANT: Larry W. York
  CASE NUMBER: 02CR40078-28


                                                                    IMPRISONMENT

           The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
6 months of week-ends in jail beginning on Friday at 6:00 p.m. until Sunday at 6:00 p.m.




       D The court makes the following reconnnendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
            D     at   _ _ _ _ _ _ _ _ _ D a.m.                       D p.m.    on

            D     as notified by the United States Marshal.

       r;/ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            ~ as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




                                             __________________________ to
            Defendant delivered on

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                               By
                                                                                         DEPUTY UNITED STATES MARSHAL
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              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - SupelVised Release

                                                                                                    Judgment-Page      4     of _ _.::5__
  DEFENDANT: Larry W. York
  CASE NUMBER: 02CR40078-28
                                                              SUPERVISED RELEASE

  Upon release from imprisomnent, the defendant shall be on supervised release for a term of :
• The defendant is to remain on supervision until 4/17/2012 , continue his counseling and all meetings. The conditions
previously set remain in effect.


           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  "     The defendant shall not possess a firearm, anununition, destructive device, or any other dangerous weapon. (Check, if
  "     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgIllent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted ofa felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view ofthe probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  l3)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release

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                                             SPECIAL CONDITIONS OF SUPERVISION

X All criminal monetary penalties, restitution and forfeitures previously imposed shall continue to remain in full force and
effect.

X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and!or any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility or residential
reentry center. Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay
for the costs associated with substance abuse counseling and! or testing based on a copay sliding fee scale approved by
the United States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not
exceed 52 in a one year period.
